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COUNSEL FOR DEBTORS IN POSSESSSION

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE NORTHERN DISTRICT OF TEXAS
FORT WORTH DIVISION

IN RE: § Case No. 13-41053-DML-11
WALLIS JAMES WINEGAR AND

JANE LARSON WINEGAR d/b/a
WINEGAR ENTERPRISES,

In Proceedings Under Chapter 11

COD KI CO? COD CO?

Debtors.

MOTION FOR APPROVAL OF EMPLOYMENT OF FINANCIAL CONSULTANT
FOR THE DEBTORS IN POSSESSION

IMPORTANT NOTICE

NO HEARING WILL BE CONDUCTED HEREON UNLESS A
WRITTEN OBJECTION IS FILED WITH THE CLERK OF THE
UNITED STATES BANKRUPTCY COURT AT 501 WEST TENTH
STREET, FORT WORTH, TEXAS 76102 ON OR BEFORE
SEPTEMBER 7, 2013 WHICH IS AT LEAST TWENTY-FOUR (24)
DAYS FROM THE DATE OF SERVICE HEREOF.

ANY OBJECTION MUST BE IN WRITING AND FILED WITH
THE CLERK, AND A COPY MUST BE SERVED UPON COUNSEL
FOR THE MOVING PARTY PRIOR TO THE DATE SET FORTH
HEREIN. IF AN OBJECTION IS FILED, A HEARING WILL BE
HELD WITH NOTICE ONLY TO THE OBJECTING PARTY.

IF NO HEARING ON SUCH OBJECTION OR MOTION IS
TIMELY REQUESTED, THE RELIEF REQUESTED SHALL BE
DEEMED TO BE UNOPPOSED, AND THE COURT MAY ENTER
AN ORDER GRANTING THE RELIEF SOUGHT OR THE
NOTICED ACTION MAY BE TAKEN,
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Name of Client: Wallis James Winegar and Jane Larson Winegar d/b/a Winegar
Enterprises

Identity of Professional: Safe Harbor Associates, LLC
452 Horse Thief Lane

Durango, CO 81301
Telephone: 817.821.7355

Nature of Profession: Financial Consultants

Conflicts: None, except as further disclosed.
Retainer: $7,500.00

Proposed Compensation: Based on hourly rates as follows:

Managing Director $225.00 per hour.
TO THE HONORABLE D. MICHAEL LYNN, UNITED STATES BANKRUPTCY JUDGE:

COME NOW Wallis James Winegar and Jane Larson Winegar (“Winegars” or “Debtors”) and file
this Motion for Approval of Employment of Financial Consultant for the Debtors in Possession (this
“Motion”) and in support thereof would respectfully show to the Court as follows:

1. Debtors filed a Voluntary Petition for relief under chapter 11 of the United States
Bankruptcy Code on March 4, 2013. The Debtors have continued to operate as debtors in possession
pursuant to 11 U.S.C. §§ 1107 and 1108.

2, This Court has jurisdiction over the subject matter of this Motion pursuant to 28 U.S.C. §
1334. The matter is core pursuant to 28 U.S.C. § 157(b)(2)(A). Matters concerning employment of
professionals are governed by 11 U.S.C. § 327.

3. In connection with the bankruptcy proceeding, Winegars seek to engage the services of a
qualified financial consultant to assist in effecting a successful reorganization. In this regard, Winegars
have entered into an engagement agreement dated August 1, 2013 with Safe Harbor Associates, LLC
(“Safe Harbor”) to perform the requisite services. A true and accurate copy of the engagement agreement
is attached hereto and incorporated herein as Exhibit “A”.

4, Debtors believe that Safe Harbor is well qualified to provide the financial consulting

services which are the subject of this Motion. Safe Harbor maintains its offices at 452 Horse Thief Lane,

 

In re Wallis James Winegar and Jane Larson Winegar d/b/a Winegar Enterprises, Debtors
Motion for Approval of Employment of Financial Consultant for Debtors in Possession — Page 2
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Durango, CO 81301.
5. In connection with the subject chapter 11 bankruptcy case, Safe Harbor has agreed to
provide services, including
° Assist Winegars in the development and validation of their business plan,

financial projections, liquidation analysis, and cash flow budgets and associated
cash management, disbursement, and reporting processes;

° Assist Winegars in their reporting of performance pursuant to applicable
debtor-in-possession financing, cash collateral, or other orders entered by the
Court;

° Assist Winegars in their contacts and communications with creditors and other

parties at interest with respect to the Debtors’ financial, operational, and
reorganization matters;

° Assist Winegars in the preparation of their Plan of Reorganization, Disclosure
Statement and associated financial projections;

° Perform such other services in connection with the reorganization of the Debtors
and the preparation of the Debtors’ proposed Plan of Reorganization as may be
reasonably necessary to advance the Debtors’ reorganization efforts under Chapter
11 and the preparation, confirmation and consummation of its Plan of
Reorganization;

6. The source of compensation for professional services to be rendered on behalf of Debtors
shall be the Debtors’ chapter 11 bankruptcy estate. Safe Harbor proposes to charge for services on an
hourly basis at the rate of $225.00 per hour for financial consulting services of the Managing Director.

7. In addition to compensation for professional services rendered, Safe Harbor shall seek
reimbursement for reasonable and necessary expenses incurred in connection with these proceedings,
including, but not limited to transportation, lodging, telephone, messenger services, postage and copying.

8. Safe Harbor understands that compensation for services rendered to Debtors will be
subject to allowance by this Court pursuant to the Bankruptcy Code, the Federal Rules of Bankruptcy
Procedure and the rules and orders of this Court and intends to apply for compensation for professional
services rendered in connection with this case and for reimbursement of actual and necessary expenses

incurred in accordance with the Bankruptcy Code, the Federal Rules of Bankruptcy Procedure and the

rules and order of this Court.

 

In re Wallis James Winegar and Jane Larson Winegar d/b/a Winegar Enterprises, Debtors
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9. Except as disclosed herein, Safe Harbor is disinterested and has no connections with
Debtors, creditors of the Debtors or any other party in interest, or their respective attorneys and
accountants, the United States Trustee, or any person employed in the office of the United States Trustee,
that would conflict with the services provided or to be provided to Debtors. Safe Harbor has never served
as an examiner to the estate. Furthermore, Debtors believe that the employment of such firm would be in
the best interest of the Debtors. Attached hereto as Exhibit “B” is the Affidavit of Anthony F. Wolf
concerning the qualifications and disinterestedness of his firm.

WHEREFORE, PREMISES CONSIDERED, Wallis James Winegar and Jane Larson Winegar,
Debtors herein, respectfully pray for an Order of this Court approving the employment of Safe Harbor as
the financial consultant as of August 1, 2013 and for such other relief, at law or in equity, to which they
may be shown justly entitled.

DATED this 13" day of August, 2013.

Respectfully submitted,
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In re Wallis James Winegar and Jane Larson Winegar d/b/a Winegar Enterprises, Debtors
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~ CERTIFICATE OF SERVICE

The undersigned hereby certifies that on the 13" day of August, 2013, a copy of the
foregoing Motion was served via ECF on the parties registered with the Court to receive ECF,
via first class mail on the parties listed on the attached service list and on the following in the
manner indicated:

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/s/ Joseph F. Postnikoff
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In re Wallis James Winegar and Jane Larson Winegar d/b/a Winegar Enterprises, Debtors
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